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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

 Case No.     CV 85-4544-DMG (AGRx)                                    Date    January 5, 2021

 Title Jenny L. Flores, et al. v. William P. Barr, et al.                             Page    1 of 1

 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                                NOT REPORTED
              Deputy Clerk                                              Court Reporter

    Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
             None Present                                               None Present

Proceedings: IN CHAMBERS—ORDER APPROVING FINAL NOTICE OF RIGHTS

        On December 18, 2020, the parties filed a joint status report indicating their acceptance of
the Court’s edits to the latest version of the draft Notice of Rights and offering one agreed-upon
edit. [Doc. # 1053.] Unless any party indicates otherwise by January 12, 2021, the Court will
accept the attached version as final.

        The joint status report also notes that the parties will continue discussions on an updated
version of the ICE Directive. The Court hereby ORDERS that the parties submit a further joint
status report regarding the finalization and implementation of the ICE Directive by January 12,
2021.

IT IS SO ORDERED.




 CV-90                             CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk KT
